      Case 2:14-cv-00044-TOR     ECF No. 110   filed 11/18/15   PageID.1688 Page 1 of 2



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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 6

 7    CHELAN COUNTY,
      WASHINGTON,                                  NO: 2:14-CV-0044-TOR
 8
                                Plaintiff,         ORDER OF DISMISSAL WITH
 9                                                 PREJUDICE
            v.
10
      BANK OF AMERICA
11    CORPORATION, a Delaware
      Corporation; and BANK OF
12    AMERICA, N.A., a national banking
      association,
13
                                Defendants.
14

15         BEFORE THE COURT is the parties’ Stipulated Motion for Dismissal (ECF

16   No. 109). The parties stipulated that this case be dismissed with prejudice pursuant

17   to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), without an award of costs or

18   attorney’s fees to any party.

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     ORDER OF DISMISSAL WITH PREJUDICE ~ 1
     Case 2:14-cv-00044-TOR      ECF No. 110    filed 11/18/15   PageID.1689 Page 2 of 2



 1   ACCORDINGLY, IT IS HEREBY ORDERED:

 2         1. Pursuant to the parties’ stipulation, all claims and causes of action in this

 3   matter are DISMISSED with prejudice and without costs or fees to any party.

 4         2. All pending motions are denied as moot.

 5         3. All pending hearings are stricken from the Court’s calendar.

 6         The District Court Executive is hereby directed to enter this Order, furnish

 7   copies to counsel, and CLOSE the file.

 8         DATED November 18, 2015.

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                                    THOMAS O. RICE
11                               United States District Judge

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     ORDER OF DISMISSAL WITH PREJUDICE ~ 2
